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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-2989-MDL-ALTONAGA/Torres

  In re:

  JANUARY 2021 SHORT SQUEEZE
  TRADING LITIGATION
  _________________________________/

  This Document Relates to:

  23-20725-CIV-ALTONAGA

            ORDER OF CONSOLIDATION AND ADMINISTRATIVE CLOSE-OUT

           THIS CAUSE is before the Court sua sponte. The above-styled case is consolidated in

  MDL proceeding 21-2989-MDL for all pretrial purposes, and the parties are directed to submit

  all filings in the MDL action. It light of the consolidation of all cases in the MDL action, it is

           ORDERED AND ADJUDGED that the Clerk of the Court shall mark the following

  case as CLOSED for administrative purposes only:

  23-20725-CIV-ALTONAGA

           All pending motions in the above-listed cases are hereby DENIED WITHOUT

  PREJUDICE.

           DONE AND ORDERED in Miami, Florida, this 24th day of February, 2023.



                                                   ________________________________________
                                                   CECILIA M. ALTONAGA
                                                   CHIEF UNITED STATES DISTRICT JUDGE

  cc:      counsel of record
